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EXHIBIT B
SCANNED ON 7/7/2008

MOTION/CASE IS RESPE STFULLY REFERRED TO JUSTICE

FOR THE FOLLOWING REASONS):

 

 

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’ SUPREME COURT OF THE STATE OF NEW YORK — NEW YORK COUNTY

PRESENT: 2 DM AN PART 57
Justice /
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Notice of Motion/ =

 

 

Answering Affidavits — Exhibits

 

Replying Affidavits.

 

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Cross-Motion: POYes Lj No ‘a

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SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF NEW YORK — PART 57

PRESENT: Hon. Marcy S. Fricdman, JSC

 

JAMES BRADY and JANE BRADY,
Index No.: 603741/07

Plaintiffs,

- against - & Fy
450 WEST 315" OWNERS CORP., et al., L & d

DECISION/ORDER

Defendants “yy 0
wn Zag
Ohi
This is an action for injunctive and declaratory relief. Pla Rags and Jane Brady,

the owncrs of the shares of stock allocated to a commercial unit on the 12' Moor and roof of a

 

cooperatively owned premises, seek to enjoin defendant 450 West 31° Owners Corp. (“Owners
Corp.”), the cooperative corporation, from sclling transferable development rights (““TDRs”’) (or,
as more commonly known, “air rights”) to defendants Extell Development Company, Hudson
Yards, LLC and Extell 31/10 LLC (“Extell”), the developer of an adjoining premises. Owners
Corp. and Extell cach move for summary judgment dismissing the amended complaint.
Plaintiffs cross-move for partial summary judgment on the first through third causes of action of
the complaint. This court denied plaintiffs’ prior motion for a prcliminarv iniunction bv decision
and order dated November 29, 2007, which was affirmed by the Appellate Division, First
Department, by order dated December 20, 2007.

Owners Corp. and Extell 31/10 LLC entered into a Sale and Purchase Agreement, dated

August 23, 2007 (“contract of sale”), for the sale by Owners Corp. to Extell of Owners Corp.'s

 

 
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“excess development rights.” It is undisputed that such excess development rights include the air
rights or TDRs above plaintiffs’ unit. The contract of sale has not yet closed.

The first cause of action of plaintiffs’ amended complaint sccks an injunction enjoining
defendants from consummating the contract of sale. The second cause of action seeks a
judgment declaring that the contract of sale is null and void. The third cause of action seeks a
judgment declaring that “the rights purportedly conveyed by the Contract of Sale belong solcly to
the 12"" Floor * * * and that the Cooperative Corporation cannot without the consent of the owner
of the 12" Floor sell or transfer any portion of these rights.” (Amended Complaint, J 79.) The
fourth cause of action alleges that the conveyance made by the contract of sale would unjustly
enrich Extell, and seeks imposition of a constructive trust upon the conveyance. The fifth cause
of action alleges that consummation of the contract of sale would wrongfully take possession of
plaintiffs’ space, and secks a judgment ejecting defendants from possession of such space. The
sixth cause of action seeks an injunction enjoining Owners Corp. from breaching its fiduciary
duty to plaintiffs. The seventh and final cause of action alleges that plaintiffs have the right,
under an agreement with Owners Corp., to construct or extend structures on or above the roof,
and seeks an injunction enjoining Extell from interfering with this agreement.

In seeking to enjoin the transfer of the TDRs, plaintiffs rely on paragraph 7 of the sccond
amendment to Offering Plan which provides in full: “The 12" floor and roof unit shall have, in
addition to the utilization of the roof, the right to construct or extend structures upon the roof or
above the same to the extent that may from time to time be permitted under applicable law.” The

threshold issuc on these motions is therefore whether this paragraph should be construed as

conferring air rights upon plaintiffs.

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It is well settled that the determination of whether a contract is ambiguous is one of law
to be resolved by the court. (Matter of Wallace v 600 Partners Co., 86 NY2d 543, 548 [1995];
W.W.W. Assocs., Inc. v Giancontien, 77 NY2d 157 [1990].) Moreover, the court should
determine from contractual language, without regard to extrinsic evidence, whether there is any
ambiguity. (Chimart Assocs. v Paul, 66 NY2d 570, 573 [1986].) “[Mlatters extrinsic to the
agrecment may not be considered when the intent of the parties can be gleaned from the face of
the instrument.” (Id. at 572-573 [internal citation and quotation marks omitted].) “[W]hen
parties set down their agreement in a clear, complete document, their writing should * * * be
enforced according to its terms,” (Vermont Teddy Bear Co., Inc. v 538 Madison Realty Co., |
NY3d 470, 475 [2004] [internal quotation marks and citations omitted].) This rule is of “special
import” in real property transactions “where commercial certainty is a paramount concer, and
where * * * the instrument was negotiated between sophisticated, counseled business people
negotiating at arm’s length. In such circumstances, courts should be extremely reluctant to
interpret an agreement as implicdly stating something which the parties have neglected to
specifically include.” (Id. [intcrnal quotation marks and citations omitted].)

Applying these principles, the court finds that paragraph 7 is not ambiguous, and that it
gives plaintiffs the right to build structures on or above the roof but does not convey air mghts to
plaintiffs. It is undisputed that air rights existed and were well known in the real estate
community in 1980 when the Offering Plan was amended to add paragraph 7. Had the parties,
who were sophisticated business people, intended to convey or reserve air rights to the 12" floor
and roof units, they could easily have expressly so provided. Indeed, plaintiffs themselves do

not take the position that they are the owners of the air rights. They clarify that they “do not

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contend that the 12" Floor and Roof Unit can sell or transfer these [TDR] rights to adjoining
landowners, but * * * do contend that the Cooperative Corporation cannot sell or transfer thesc
rights to anyone without [plaintiffs’] consent.” (Brady Aff. In Support of Cross-Motion [“Brady
Aff.”], 951.) While plaintiffs thus do not dispute that the Cooperative Corporation is the owner
of the TDRs, they contend that they “control” the development rights by virtue of paragraph 7 of
the amended Offering Plan. (Id., 52.) However, paragraph 7 is plainly not susceptible to the
construction, advanced by plaintiffs, that they have the right to extend their existing penthouse
structure by an additional 190,000 square feet (id., 4 89), the square footage of the air nghts that
were acquired by the Cooperative Corporation as a result of a change in the zoning resolution
approximately 25 years after plaintiffs’ predecessor acquired the right to erect structures on the
roof pursuant to paragraph 7 of the amended Offering Plan.

The court accordingly holds as a matter of law that Owners Corp. is the owner of the
TDRs that were conveyed by the contract of sale to Extcll, and that paragraph 7 of the second
amendment to the Offering Plan does not convey or reserve the TDRs to plaintiffs. The first,
second, and third causes of action of plaintiffs’ amended complaint, all of which seek to
invalidate the contract of sale, are therefore dismissed. The fourth and fifth causes of action for a
constructive trust and judgment of ejectment are not maintainable on the facts alleged. The sixth
cause of action against Owners Corp. for breach of fiduciary duty and the seventh cause of action
against Extell for an injunction also fail to state cognizable claims on the facts alleged.

In so holding, the court does not reach the issue of whether the right which has been
conveyed to plaintiffs — namely, “to construct or extend structures upon the roof or above the

same to the extent that may from time to time be permitted under applicable law” — has been or

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may be impaired by Extell’s proposed development. Taking the position that they are entitled to
the broad declaration that they control all the air rights, plaintiffs do not, in the alternative, seek a
more limited declaration as to whether specifically identified structures may be erected on the
roof. Nor on this record would there be a basis for such relief, as plaintiffs do not provide any
factual details as to the particular structures they plan to erect on the roof. (Compare 40-56 Tenth
Ave. LLC v 450 W. 14" St. Corp., 22 AD3d 416 [1* Dept 2005].)

‘The branch of plaintiffs’ motion to dismiss defendants’ counterclaims is held in abeyance
pending hearing of plaintiffs’ separately noticcd motion to dismiss such counterclaims as moot.

This constitutes the decision and order of the court.

Dated: New York, New York

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July 2, 2008 ' / |
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MARCY HRIEDMAN, LS.C.

 

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